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Nathan Ochsner, Clerk of Court

 

Date: Thursday, February 2, 2023
Case Number: 2:11-cv-00084
Document Number: 1322 (1 page)
Notice Number: 20230202-68
Notice: The attached order has been entered.

 
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